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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA.                       INDICTMENT

                         Plaintiff,              18   U.S.C. S 2251(a)
                                                 18   U.S.C. S 2251(e)
              V.                                 18   U.S.C. S 2252(a)(4)(B)"   .

                                                 18   U.S.C. S 2252b)Q)
 RYAN THOMAS FEINE,                              18   U.S.C. S 2253(a)

                         Defendant.

      THE UNITED STATES GRAND JURY CHARGES THAT:

                                    COUNT 1
            (Production and Attempted Production of Chitd Pornography)

      On a date unknown, but between on or about February 10, 2013, and
September 10, 2013, in the State and District of Minnesota, the defendant,

                     '            .RYAN THOMAS FEINE,

did employ, use, persuade, induce, entice, and coerce Minor A-an infant at the

time-to   engage   in sexually explicit conduct for the purpose of producing a visual
depiction of such conduct-that is, a visual depiction of the defendant's penis

penetrating Minor A's vagina. This visual depiction was produced and transmitted

using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce, all in violation of Title 18, United States            Code,

Sections 225I(a) and 2251(e).




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                                      COUNT 2
              (Production and Attempted Production of Child Pornography)

        On a date unknown, but between on or about February 10, 20L3, and

September 10, 2013, in the State and District of Minnesota, the defendant,

                                  RYAN THOMAS FEINE,

did employ, use, persuad.e, induce, entice, and coerce Minor B, to engage in sexually

explicit conduct for the purpose of producing a visual depiction of such conduct-that

is, a visual depiction of prepubescent Minor B's penis. This visual depiction was

produced and transmitted using materials                      that had been mailed, shipped, and
transported in and affecting interstate and foreign commerce, all in violation of Title

18, United States Code, Sections 225I(a) and 2251(e).


                            (P o s s e s sio r',   ffi,       o   rno grap hy)

        On or about August 9, 2018, in the State and District of Minnesota, the

defendant,

                                  RYAN THOMAS FEINE.

did knowingly possess one or more matters which contained visual depictions that

had been mailed., shipped, and transported. using a means and facility of interstate

and foreign commerce, and in and affecting interstate and foreign commerce, by any

means, including by computer, where the production of such visual depictions

involved the use of a prepubescent minor and a minor who had not attained twelve

years of age engaging in sexually explicit conduct and such visual depictions were of




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such conduct, aII in violation of Title 18, United States Code, Sections 2252(d@)(B)

and 2252b)(2).

                            FORFEITURE ALLEGATIONS

        Counts 1 through 3 of this Indictment are hereby incorporated for the purpose

of alleging forfeitures pursuant to Title 18, United States Code, Section        2253(a).

Upon conviction of any of the foregoing offenses, the defendant,

                                RYAN THOMAS FEINE.

shall forfeit to the United States pursuant to Title 18, United States Code, Section

2253(a):

        (1) any visual depiction described in section 225I,225LA,2252,22524,22528,

or   2260 of Chapter 110 of    Title 18, United States Code, or any book, magazine,
periodical, film, videotape, or other matter which contains any such visual depiction,

which was produced, transported, mailed, shipped or received in violation of Chapter

110 of Title 18, United States Code;

        (2)     any property, real or personal, constituting or traceable to gross profits

or other proceeds obtained from such offense; and

        (3)     any property, real or personal, used or intended to be used to commit or

to promote the commission of such offense or any property traceable to such property,

including but not limited     to:   (1) 256G8 TeamPD2OO 3.0 USB drive, (2) 500G8

Rosewill external hard disc drive, (3) 32GB black Samsung Galaxy S8 with 128G8

PNY MicroSD card, (4) Motorola Slider phone with 32GB Team MicroSD card, (5)

Ellipsis tablet in purple case, (6) black Motorola MotoX phone, (7) Asus tablet in black
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and green case, (8) 16GB LG tablet in black leather case with 32GB Team MicroSD

card, (9) Fractal Node 605 Home Theater PC with 128G8 Samsung MZ solid-state

drive, (10) Lenovo T400laptop with 250G8 Fujitsu hybrid hard drive, (11) Raspberry

PI 3 Model B with 32GB Samsung MicroSD card.

        If any of the above-described forfeitable property is unavailable for forfeiture,

the United States intends'to seek the forfeiture of substitute property as provided for

in Title 21, United States Code, Section 853b), as incorporated by Title 18, United

States Code, Section 2253b).

                                     A TRUE BILL




UNITED STATES ATTORNEY                            FOREPERSON




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